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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS


    UNITED STATES OF AMERICA,
    Plaintiff,

    v.                                                               Case No. 17–CR–40011–JPG–4

    JEREMY J. HUMPHRIES,
    Defendant.

                                                   ORDER

          Before the Court is Defendant Jeremy J. Humphries’s Motion for Compassionate Release.

(ECF No. 583).

          Humphries has been serving a 235-month sentence since 2018. (Judgment at 1–2, ECF

No. 371). He is incarcerated at Federal Correction Institution (“FCI”) Greenville in Illinois. Inmate

Locator, Bureau of Prisons (last visited May 12, 2021). 1

          In March 2021, Humphries moved for a sentence modification under 18 U.S.C.

§ 3582(c)(1)(A), also called compassionate release. (Def.’s Mot. at 1). He contends that serious

medical conditions make his parents especially vulnerable to the COVID-19 virus. (Id. at 1, 3).

In brief, Humphries argues that his parents’ increased risk of experiencing serious complications

if they contract COVID-19 is an extraordinary and compelling reason warranting his release. (Id.).

          District courts generally “may not modify a term of imprisonment once it has been

imposed . . . .” 18 U.S.C. § 3582(c). That said, an exception exists for when “extraordinary and

compelling reasons warrant such a reduction . . . .” Id. § 3582(c)(1)(A)(i). The burden of proof

rests on the defendant, and the Court has “broad discretion.” See United States v. Saunders,

986 F.3d 1076, 1078 (7th Cir. 2021).


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    Available at https://www.bop.gov/inmateloc/.
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       With that in mind, a sentence modification is inappropriate here. To be sure, the Court is

sympathetic to the medical conditions of Humphries’s parents. But given the widespread

availability of the COVID-19 vaccine, the risk posed to them is greatly reduced. Moreover, even

without the virus, inmates routinely face the harsh reality of being unavailable to help their parents

through the aging process. Humphries accepted that risk when he conspired to distribute

methamphetamine—the pandemic did not change that. Put differently, the mere presence of

COVID-19 in society is not an extraordinary and compelling reason warranting compassionate

release.

       For those reasons, the Court DENIES Defendant Jeremy J. Humphries’s Motion for

Compassionate Release.

       IT IS SO ORDERED.

Dated: Wednesday, May 12, 2021
                                                      S/J. Phil Gilbert
                                                      J. PHIL GILBERT
                                                      UNITED STATES DISTRICT JUDGE




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